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 1    Pete Marketos (admitted pro hac vice)
      Joshua Russ (admitted pro hac vice)
 2    Andrew Wirmani (admitted pro hac vice)
      Leslie Chaggaris (admitted pro hac vice)
 3    Tyler Bexley (admitted pro hac vice)
      Brett Rosenthal (admitted pro hac vice)
 4    Jamison Joiner (admitted pro hac vice)
      REESE MARKETOS LLP
 5    750 North Saint Paul Street, Suite 600
      Dallas, Texas 75201
 6
      Alex Reese (State Bar No. 280530)
 7    FARELLA BRAUN + MARTEL LLP
      235 Montgomery Street, 17th Floor
 8    San Francisco, California 94104
      Telephone: (415) 954-4400
 9    Facsimile: (415) 954-4480
      Email: areese@fbm.com
10
      Attorneys for Relator Gwen Thrower
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12                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF CALIFORNIA
13
      UNITED STATES OF AMERICA, ex rel.                  Civil Action No. 3:16-cv-02120 (EMC)
14    GWEN THROWER,

15                      Plaintiff,                       RELATOR’S ADMINISTRATIVE
                                                         MOTION TO CONSIDER
16    vs.                                                WHETHER ANOTHER PARTY’S
                                                         MATERIAL SHOULD BE FILED
17    ACADEMY MORTGAGE                                   UNDER SEAL IN RELATOR’S
      CORPORATION,                                       MOTION FOR PARTIAL
18                                                       SUMMARY JUDGMENT
                        Defendant.
19                                                       Judge: Hon. Edward M. Chen

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21          Relator Gwen Thrower submits this Administrative Motion to Consider Whether Another

22   Party’s Material Should be Filed Under Seal in Support of Relator’s Motion to for Partial Summary

23   Judgment. Pursuant to Local Rule 79-5(f), Relator identifies the following documents that

24   Defendant Academy Mortgage Corporation has marked as confidential and thus require sealing

25   under the Stipulated Protective Order (Doc. 141):

26          •   Ex. A-1: Expert Report of Susan E. Neal, which Academy designated as confidential;

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28
      Relator’s Administrative Motion to Consider Whether Another Party’s Material Should be Filed
                                      Under Seal in Relator’s Motion for Partial Summary Judgment
                                                                   Case No. 3:16-cv-02120 (EMC)
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 1          •   Ex. A-3: Expert Report of Chris Bennet, which has been marked as confidential due to

 2              its reliance on documents and material that Academy designated as confidential;

 3          •   Ex. A-5: Communications with HUD that Academy produced during discovery and

 4              designated as confidential.

 5
 6   Dated: June 23, 2022

 7                                                 Respectfully submitted,

 8                                                 /s/ Joshua M. Russ
 9                                                 Joshua M. Russ (admitted pro hac vice)
                                                   REESE MARKETOS LLP
10                                                 Attorney for Relator

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     Relator’s Administrative Motion to Consider Whether Another Party’s Material Should be Filed
                                     Under Seal in Relator’s Motion for Partial Summary Judgment
                                                                  Case No. 3:16-cv-02120 (EMC)
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